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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,                  )   Criminal No. 21-036 (NEB/DTS)
                                            )
                            Plaintiff,      )
                                            )   MOTION TO COMPEL ATTORNEY
 v.                                         )   FOR THE GOVERNMENT TO
                                            )   DISCLOSE EVIDENCE FAVORABLE
 DAYTON CHARLES SAUKE,                      )   TO THE DEFENDANT
                                            )
                          Defendant.        )


       The defendant, Dayton Charles Sauke, through his undersigned attorney, moves

the Court for an Order compelling disclosure of evidence favorable to the defendant,

pursuant to the authority of Brady v. Maryland, 373 U.S. 83 (1963); Miller v. Pate, 386

U.S. 1 (1967); Giles v. Maryland, 386 U.S. 66 (1967); and Moore v. Illinois, 408 U.S.

786 (1972). Such evidence should include information in the possession of the

prosecution or any of its agents, or other evidence the existence of which is known, or by

the exercise of due diligence may become known to the prosecution, which: (1) may be

favorable to the defendant, (2) could reasonably weaken or affect any evidence that may

be introduced against the defendant, (3) is otherwise relevant to the subject matter of this

case and may in any manner aid the defendant in the investigation or preparation of his

case for trial or sentencing.

       Defendant moves that this Order direct the prosecution to review the files of all

agencies involved in the case to determine whether any additional exculpatory material

exists and to disclose such material to the defense, and that it further direct all law
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enforcement agencies involved in any way with this case and its underlying investigation

disclose all exculpatory materials.

       Defendant further moves that this disclosure is to be made without regard to

whether the evidence may be admissible and that it shall include, but not limited to, the

following:

       1.       Any identification of persons other than the defendant by eyewitnesses to
                the crime.

       2.       Any failure to identify the defendant by any eyewitnesses to the crime.

       3.       Any statements of any witnesses whether indicted or not, exculpating the
                defendant.

       4.       Any statements of witnesses, whether indicted or not, which contradict
                statements of other witnesses.

       5.       Any reports of interviews relating to Nos. 3 and 4.

       6.       Any fingerprints, handwriting or other scientific evidence which was not
                identified with this defendant.

       7.       Any items seized from parties not charged which tend to identify them
                rather than the defendant with commission of the crime.

       8.       Any prior convictions of prospective government witnesses.

       9.       Any offers or promises made to prospective government witnesses to
                induce their cooperation against the defendant whether or not the
                government intends to call those persons as witnesses.

       10.      Any photographs used by the government agents in their investigation to
                identify defendant.

       11.      All pieces of identification bearing any of defendant's names in
                combinations different than that appearing on the caption of the indictment.




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       12.    Permission of the defendant to inspect and copy the results of any physical
              or mental examinations or scientific tests or experiments, including but not
              limited to fingerprint, blood, tissue, fluid or chemical analyses.

       If any such evidence exists, the defendant moves for an order that an evidentiary

hearing be held prior to trial to determine if such statements or evidence were obtained in

violation of rights guaranteed under the Constitution of the United States.


Dated: March 15, 2021                            Respectfully submitted,

                                                 s/ Andrew H. Mohring
                                                 ANDREW H. MOHRING
                                                 Attorney ID No. 190731
                                                 Attorney for Defendant
                                                 107 U.S. Courthouse
                                                 300 South Fourth Street
                                                 Minneapolis, MN 55415




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